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                                          U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York
                                                      The Silvio J. Mollo Building
                                                      One Saint Andrew’s Plaza
                                                      New York, New York 10007



                                                       October 15, 2020

                                                                                     MEMO ENDORSED p. 2
By ECF

The Honorable Sidney H. Stein
Chief United States District Judge
Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007

   Re:     United States v. Jamil Banks, 20 CR 284 (SHS)

Dear Judge Stein,

        The Government writes on behalf of the parties to request respectfully that the Court further
adjourn the conference currently scheduled for October 19, 2020 for approximately one additional
month to a date and time that is convenient for the Court during the week of November 16, 2020
or thereafter by which time the parties anticipate having concluded their discussions of a pre-trial
disposition. At present, the parties are continuing to consider the disposition of the related
violation of supervised release proceedings in 03 CR 7 (SHS), in connection with which there are
parallel indictments pending in state court. With the consent of the defendant, the Government
requests respectfully that the Court exclude time under the Speedy Trial Act from October 19,
2020 through the date of any adjournment pursuant to 18 U.S.C. § 3161(h)(7) on the basis that the
interests of the public and the defendant in a speedy trial are outweighed here by the interests of
the defendant in having further time in which to explore a pretrial disposition amidst the
circumstances of the ongoing national emergency and the delays attendant to it with respect to
achieving such a disposition, in particular on the global basis toward which the parties are working
here.

                                                Respectfully submitted,

                                                AUDREY STRAUSS
                                                Acting United States Attorney

                                          By:
                                                Thomas John Wright
                                                Assistant United States Attorney
                                                (212) 637-2295

cc: John Meringolo (Counsel to Defendant Jamil Banks) (by ECF)
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The conference is adjourned to November 19, 2020, at 4:00 p.m. The time is excluded from calculation
under the Speedy Trial Act from today until November 19, 2020. The Court finds that the ends of justice
served by this continuance outweigh the best interests of the public and the defendants in a speedy trial
pursuant to 18 U.S.C. ' 3161(h)(7)(A).

Dated: New York, New York
       October 15, 2020
